Case: 4:23-cr-00238-JAR         Doc. #: 83     Filed: 12/06/24     Page: 1 of 1 PageID #: 173



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
            Plaintiff,                           )
                                                 )
      vs.                                        )          Case No. 4:23CR00238JAR
                                                 )
PATRICIA CLINE,                                  )
                                                 )
            Defendants.                          )

                               MEMORANDUM AND ORDER

       This matter is before the Court on Defendant’s Motion to Continue the Trial. (Doc. No.

81.) For good cause shown,

       IT IS HEREBY ORDERED that Defendant’s Motion to Continue the Trial [Doc. No.

81] is GRANTED. Pursuant to 18 U.S.C. § 3161(h)(7), the interests of justice are served by a

continuance, that the interests of justice outweigh the interest of the public and Defendant in a

speedy trial, and that, therefore, any time elapsed is excludable time under the Speedy Trial Act.

The jury trial of this matter is continued to Monday, February 3, 2025 at 9:00 a.m.

       Dated this 6th day of December, 2024.



                                                 _______________________________
                                                 JOHN A. ROSS
                                                 UNITED STATES DISTRICT JUDGE
